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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

BOARD OF DIRECTORS OF TI-IE

GRAND BEAR LAKES TOWNHOME
ASSOCIATION,
an lllinois not-for-protit corporation,

v. Hon. Charles R. Norgle, Sr.
GRAND BEAR LODGE, LLC,

an Illinois limited liability company;
JOSEPH F. HOOK, an individual; KEITH )
WOLICK, an individual; SUSANWOI..ICK, )
an individual, and COUN’I`RYSIDE BANK,)
an l]linois State chartered bank,

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Plaintift`, ) Case No. 1:16-cv-00267
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) Magisti‘ate Judge Hon. Geraldine Soat Brown

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)
Defendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF’S
COMPLA]NT WTI`HOUT PREJUDICE

Plaintiff, Board of Directors of the Gra_nd Bear Lakes Townhorne Association, by and
through its attomeys, Kevin A. Sterling, Steven D. Welhouse and Laura Newcomer Cohen notifies
this Court pursuant to Rule 4l(a) of the Federal Rules of Civil Procedure that Plaintiff voluntary
dismisses Plaintift"s Complaint filed Witli this Court on January 8, 2016 Without prejudice. (Doo.
l). The Defendants have not answered Plaintiff's Complaint or moved for summary judgment on
any of the claims asserted therein. Therefore, dismissal of Plaintiff’s complaint is permitted by y

Fed. R. civ. P. 41(3)(1)(A)(i)wia10ura court order.

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Respectfully submitted,

BOARD OF DIR_ECTORS O.F THE GRAND BEAR LAKES
TOWNHOME ASSOCIATION

By: /s/ Kevin A. Sterling
One of the Attorneys for Board of Direetors
Of the Grand Bear Lalces Townhome
Association

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CERTIFICATE OF SERVICE
The undersigned certifies that on February 22, 2016, a true and correct copy of Plaintiff’ s
Notice ofVoluntary Disrnissal of Plaintiff’s Complaint Without Prejudice was served on the
following via the court’s electronic system and via electronic mail at the following email

addresses designated below:

J ames B. Koch Robert Handley

Michelle LaGrotta Burlce & Handley

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By: /s/ Kevin A. Sterliru!1

One of the Attorneys for Board of Directors
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